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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. FOARD2017 OK 92Case Number: SCBD-6552Decided: 11/20/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 92, __ P.3d __

				


STATE OF OKLAHOMA, ex rel., OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JEAN LEA FOARD, Respondent.



ORDER APPROVING RESIGNATION FROM OKLAHOMA BAR ASSOCIATION
PENDING DISCIPLINARY PROCEEDINGS



¶1 The State of Oklahoma, ex rel. Oklahoma Bar Association (Complainant) has presented this Court with an application to approve the resignation of Jean Lea Foard (Respondent) from membership in the Oklahoma Bar Association. Respondent seeks to resign pending disciplinary proceedings and investigation into alleged misconduct, as provided in Rule 8.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A. Upon consideration of the Complainant's application and Respondent's affidavit in support of resignation, we find:

1. Respondent executed her resignation on August 26, 2017.

2. Respondent's resignation was freely and voluntarily tendered; she was not subject to coercion or duress; and she was fully aware of the consequences of submitting her resignation.

3. Respondent was aware that the Office of the General Counsel of the Oklahoma Bar Association had received and was investigating grievance DC 17-74. This grievance alleged Respondent misappropriated or converted funds she received on behalf of two minor children in settlement of the children's personal injury claims. Respondent has waived the right to contest this allegation and in doing so relieves the Complainant from proving this misconduct.

4. Respondent is aware that the allegations concerning the conduct specified in paragraph three (3) above, if proven, would constitute violations of Rules 1.15 and 8.4(a), (c) and (d) of the Oklahoma Rules of Professional Conduct, 5 O.S. 2011, Ch. 1, App. 3-A and Rule 1.3, Oklahoma Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A, and her oath as an attorney.

5. Respondent acknowledges that as a result of her conduct the Client Security Fund may receive claims from her former clients. She agrees that should the Oklahoma Bar Association approve and pay such Client Security Fund claims, she will reimburse the fund the principal amount and the applicable statutory interest prior to filing any application for reinstatement.

6. Respondent recognizes and agrees she may not make application for reinstatement to membership in the Oklahoma Bar Association prior to the expiration of five years from the effective date of this Court's approval of her resignation; she acknowledges she may be reinstated to practice law only upon compliance with the conditions and procedures prescribed by Rule 11 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A.

7. Respondent has agreed to comply with Rule 9.1 of the Rules Governing Disciplinary Proceeding, 5 O.S. 2011, Ch. 1, App. 1-A.

8. Respondent's resignation pending disciplinary proceedings of respondent is in compliance with Rule 8.1 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A.

9. Respondent's name and address appears on the official roster maintained by the Oklahoma Bar Association as follows: Jean Lea Foard, OBA #19659, 3413 Lakeside Lane, Suite 3, Woodward, Oklahoma 73801.

10. Costs have been incurred by Complainant in this matter in the amount of $ 238.39 and Respondent has agreed to reimburse said costs within 180 days of the approval of her resignation.

11. Respondent's resignation should be approved.

12. This Order accepting respondent's resignation is to be effective as of August 26, 2017, the date the application for approval of her resignation was filed in the Court.

¶2 It is therefore ORDERED that Complainant's application is approved and Respondent's resignation is accepted and approved effective August 26, 2017.

¶3 It is further ORDERED that Respondent's name be stricken from the Roll of Attorneys and that she make no application for reinstatement to membership in the Oklahoma Bar Association prior to five years from August 26, 2017.

¶4 It is further ORDERED that respondent comply with Rule 9.1 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A.

¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 20th DAY OF NOVEMBER, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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